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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

                                                   )
ACADIA PHARMACEUTICALS INC.,                       )
                                                   )
                                Plaintiff,         )

                        V.
                                                   )   C.A. No. 20-985-~           G-BW
                                                   )
                                                   )
AUROBINDO PHARMA LIMITED et al.,
                                                   )   CONSOLIDATED
                                                   )
                               Defendants.         )
                                                   )
                                                   )

                          STIPULATION AND [PROPOSED) ORDER

        Plaintiff ACADIA Pharmaceuticals Inc. ("ACADIA") and Defendants MSN Laboratories

 Private Limited and MSN Pharmaceuticals, Inc. (collectively, "MSN"), by their undersigned

 counsel, stipulate and agree, subject to the approval of the Court, as follows:

        WHEREAS, MSN has filed Abbreviated New Drug Application ("ANDA") No. 214925

 with the United States Food and Drug Administration ("FDA") seeking approval to engage in the

 commercial manufacture, use, offer for sale, sale and/or importation of a 34 mg generic version of

 the referenced-listed drug pimavanserin tartrate, sold under the trademark NUPLAZID®("MSN's

 ANDA Product");

        WHEREAS, MSN's ANDA No. 214925 included a Paragraph IV certification under 21

 U.S.C. § 355 (j)(2)(B)(iv)(ll) that MSN seeks to engage in the commercial manufacture, use, offer

 for sale, sale and/or importation of MSN's ANDA Product prior to the expiration of U.S. Patent

 No. 7,601,740 ('"740 patent");

        WHEREAS, on July 30, 2020, November 5, 2020, and April 7, 2021, ACADIA filed its

 Complaint, First Amended Complaint, and Second Amended Complaint, respectively, against
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 MSN, alleging that MSN ' s submission of ANDA No. 214925 to the FDA and/or the sale ofMSN' s

 ANDA Product, constitute and/or induce or contribute to acts of infringement under 35 U.S.C.

 §§ 271 (a), (b), (c), and/or (e)(2); and

         WHEREAS, the ' 740 patent remains the only patent at issue for trial between ACADIA

 andMSN; and

        WHEREAS, ACADIA and MSN have agreed that all disputes between them concerning

 the ' 740 patent can be handled through stipulations of infringement and undisputed facts followed

 by a motion for summary judgment based on the undisputed facts;

        WHEREAS the only issue of validity remaining with respect to the '740 patent is whether

 MSN can prove invalidity on the theory of obviousness-type double patenting ("OTDP"); and

        WHEREAS, to conserve the Court' s and the parties' resources, the parties stipulate to

 resolving the alleged invalidity of the '740 patent based on MSN's OTDP theory through briefing

 and request an adjournment of the trial currently scheduled to begin on May 15, 2023;

        NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED,

        ( 1) the final pretrial conference currently scheduled for April 21, 2023 and the trial

 currently scheduled to begin on May 15, 2023 shall be adjourned;

         (2) the alleged invalidity of the ' 740 patent based on MSN's OTDP theory shall be resolved

 by the Court based on briefing by the parties in accordance with the following schedule:

                 (a) the parties shall submit stipulation of infringement and undisputed facts to the

                 Court by April 28, 2023

                 (b) MSN's Opening Brief for summary judgment of invalidity based on OTDP shall

                be filed by May   ~ 2023 ;
                                                                         I'I
                 (c) ACADIA' s Responsive Brief shall be filed by June.J,d, 2023;



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               (d) MSN's Reply Brief shall be filed by .J.ttly 1."4, 2023; and
                                                                 "3uttc.
               (e) ACADIA's Sur-Reply Brief shall be filed by~ 28, 2023


 IT IS HEREBY ORDERED this           i(j\L'\ day of      J\vr.\                  2023, that:

        1. The final pre-trial conference scheduled for April 21, 2023 and trial currently scheduled

 to begin on May 15, 2023 shall be adjourned; and

        2. The alleged invalidity of the '740 patent based on MSN's OTDP theory shall be resolved

 by this Court based on briefing by the parties according to the schedule provided above.


 Dated: April 6, 2023


  SAUL EWING LLP                                      SEITZ, VAN OGTROP & GREEN, P.A.

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  Attorneys for Plaintiff,
  ACADIA Pharmaceuticals Inc.



 SO ORDERED.

        This    l, t)~ day o f ~ - ~ ~ - - - - - - - -' 2023 .




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